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        JOSEPH A. BROYLES (California State Bar No.: 201481)
 1
        LAW OFFICES OF JOSEPH A. BROYLES, INC.
        IO94O WILSHIRE BLVD., SUITE 600
 2
        LOS ANGELES, CA9OO24
 3      Tel: (310) 338-0001
        Fax: (310) 388-0501
        j oseph@broylesesq. com
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 5      Attorney for Plaintiff

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                                        UNITED STATES DISTRICT COURT
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                                       CENTRAL DISTRICT OF CALIFORNIA
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                                                 IWESTERN DIVISIONI
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        SANDRA MIRONESCO
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                  Plaintiff,                                         CASE NO
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        VS                                                           COMPLAINT FOR REFUND OF
15                                                                   FEDERAL INCOME TAXES AND JURY
        LTNITED STATES OF AMERICA                                    DEMAND
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                  Defendant
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I9                COMES NOW, Plaintiff, SANDRA MIRONESCO, and alleges as follows
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2I                 L       Ptaintiff is an individual and at all times relevant herein lived in the City and County

22      of Los Angeles, within the Central District of California, Westem Division.

23                 2.      Defendant is THE I-INITED STATES OF AMERICA.

24                 3.      This is an action for the recovery of federal income tax penalties and interest
25      erroneously or illegally assessed and collected, and this Court has jurisdiction by reason of 28 U.S'C.

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                                                         COMPLATNT   &   JURY DEMAND
      Case 2:22-cv-09465-MRW Document 1 Filed 12/30/22 Page 2 of 4 Page ID #:2




 1                4.      On or about June 10,2019, the Internal Revenue Service ("lRS"), an agency of

Z-      Defendant, assessed $40,000 in penalties against Plaintiff pursuant to 26 U,S.C. $ 6038D(d)(2) for

 3      allegedly failing to file Form 8938 for tax year 2077 after demand for same was made by the IRS.

 4      This demand for the filing of Form 8938 occurred during and pursuant to a tax audit that was then
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 J      being conducted by the     IRS. While this refund suit is limited to tax year 2011, similar penalties were

 6      assessed   for tax year 2012. The 2012 penalties are not at issue in this case; but, they should be

 1      abated.

 B                5.      26 U.S.C. $ 6038D(g) provides a reasonable cause exception to the penalties set forth

 9      in 26 U.S.C, $ 6038D(dX2). 26 U,S.C. $ 6038D(e) states:

10                Reasonable cause exception

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                  No penalty shall be imposed by this section on any failure which is shown to be
I2                due to reasonable cause and not due to willful neglect. The fact that a foreign
                  jurisdiction would impose a civil or criminal penalty on the taxpayer (or any
13                other person) for disclosing the required information is not reasonable cause.

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                  6.      The reasonable cause exception to the penalties applies in this case because Plaintiff
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        reasonably relied on her accountant, a California licensed certified public accountant, and also ol.l
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        her tax attomey, a California attorney certified as a tax specialist by the State Bar    of California, to
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        respond to     all IRS correspondences during the audit of her tax returns, including the IRS' demand
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        for the filing of Form 8938. Plaintiff s accountant and/or tax attorney should have provided the
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        Form 8938 to the IRS in response to its request therefore.
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                  7.      Plaintiff has shown and will prove attrral that her failure to file Form 8938 was "dlte
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        to reasonable cause and not due to willful neglect." Therefore, the IRS should not have assessed the
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        $40,000 in penalties.
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                  6.      Plaintiff paid the $40,000 in penalties, plus interest; and, on May 18,2022, filed     a
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        claim for refund. A true and complete copy of Plaintifls claim for refund (SSN redacted) is attached
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        hereto as Exhibit    "A"   and incotporated herein by this reference.
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                  l.      The IRS has not responded to Plaintiff s claim for refund; and, more than six months
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        have passed since Plaintiff filed her claim for refund.
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                                                         CoMPLATNT   &   JURY DEtvlAND
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 1             WHEREFORE, Plaintiff requests judgment in an amount to be determined aLlrial, but which

2       Plaintiff reasonably believes to be $40,000, plus interest and costs allowed by law, and such other

        relief as the Cqurt may deem just, including the award of reasonable litigation costs incurred in this

 4      proceeding under 26 U.S.C. $7430.
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 6             RESPECTFULLY SUBMITTED

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        Dated: December 30,2022                                 THE LAW OFFICES OF
 I                                                              JOSEPH A. BRO
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11                                                                     JOSEPH A. BROYLES, ESQ
                                                                       Attorney for Plaintiff
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                                                     COMPLAINT & JURY DEMAND
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 1                                              JURY DEMAND

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 3           Plaintiff hereby requests ajury on all issues triable by a jury.

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       Dated: December 30,2022                                 THE LAW OFFICES OF
 5                                                             JOSEPH A. BRO     INC
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                                                               By
 B                                                                       JOSEPH      BROYLES, ESQ
                                                                         Attorney for Plaintiff
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